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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

Charlotte Loquasto, et al.,              §
                                         §
               Plaintiffs,               §
v.                                       §     Civil Action No. 3:19-cv-01455-B
                                         §    (Consolidated with Civil Action No.
Fluor Corporation, Inc., et al.          §             3:19-cv-01624-B)
                                         §
               Defendants.               §

       DEFENDANTS FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC.,
         FLUOR GOVERNMENT GROUP INTERNATIONAL, INC., AND FLUOR
     INTERCONTINENTAL, INC.’S OPPOSED MOTION FOR LEAVE TO DESIGNATE
         THE UNITED STATES MILITARY, AHMED NAYEB, AND UNKNOWN
              CRIMINAL ACTORS AS RESPONSIBLE THIRD PARTIES


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TO THE HONORABLE JUDGE BOYLE, UNITED STATES DISTRICT JUDGE:

       Defendants Fluor Corporation, Inc., Fluor Enterprises, Inc., Fluor Government Group

International, Inc., and Fluor Intercontinental, Inc. (collectively, “Fluor”) file this Motion for

Leave to Designate the United States Military, Ahmed Nayeb, and Unknown Criminal Actors as

Responsible Third Parties under Texas Civil Practice and Remedies Code § 33.004, et seq.,

respectfully showing this Court the following:

                                       INTRODUCTION

       1.      Plaintiffs’ suit arises from a suicide attack at Bagram Airfield (“BAF”), a United

States Military base in Bagram, Afghanistan. On November 12, 2016, an Afghan insurgent

named Ahmed Nayeb 1 (“Nayeb”) detonated a suicide-vest bomb in a crowd gathered for a

Veteran’s Day Event at BAF.

       2.      At the time of Nayeb’s attack, Fluor provided base operations support to the

Military2 under Task Order 0005, contract W52P1J-07-D-0008, as part of the Army’s Logistics

Civil Augmentation Program (“LOGCAP”) IV. Under its LOGCAP contract, Fluor provided a

wide range of civil services required by any sizeable population center, including inter alia

facilities management, laundry services, sanitation services, and motor pool services.

       3.      The Military was aware that Nayeb was a former 3 member of the Taliban, but

sponsored Nayeb for vocational training and LOGCAP work at BAF under its “Afghan First”


1
  Variants of Nayeb’s name include: Qari Nayab, Ahmad Naib Hafzi, Hafezi Nieb, Abdul
Zuhoor.
2
  Fluor uses “Military” to collectively refer to the United States Department of Defense and all
departments, services, agencies, commands, and components of the United States Department of
Defense, including but not limited to United States Central Command and United States
Forces—Afghanistan.
3
  See App’x at 167 (Ex. 6 (Letter from Commander, TF Red Bulls, to Parwan ROK)). The
Military represented that Nayeb had renounced his Taliban membership, but Nayeb’s conduct
and the Taliban’s public claim of responsibility for its “fighter” [See App’x at 508 (Ex. 10)]
seriously call into question any notion that Nayeb had truly renounced his Taliban ties.


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initiative. See pp. 7-9, infra. The Military never shared intelligence indicating that Nayeb was a

former member of the Taliban, and Nayeb’s work behavior did not generate any basis for Fluor

to suspect that he intended to commit a suicide bombing at BAF.

        4.      It is well established that “[t]he control of access to a military base is clearly

within the constitutional powers granted to both Congress and the President.” Cafeteria and

Restaurant Workers Union, Local 473, AFL-CIO v. McElroy, 367 U.S. 886, 890 (1961); accord

App’x at 15 (Ex. 2 (AR 700-137), at §§ 6-3(d), 6-4(e)); App’x at 50 (Ex. 3 (AR 715-9), at § 4-9).

Correspondingly, Fluor’s LOGCAP contract reserved to the Military all security functions at

BAF, including perimeter security; personnel screening and access; security badge issuance; and

Local National (“LN”) security escort and supervision, among other functions. See App’x at 78

(Ex. 4 (Performance Work Statement (“PWS”)), at § 1.04); see also App’x at 157, 160, and 162

(Ex. 5 (Basic Contract DFAR 252.225-7040(c)), and App’x at 1 (Ex. 1 (BAF Access Policy), at

§§ 7, 9-11).

        5.      Even though the Military controlled all aspects of security at BAF, Plaintiffs

allege that Fluor negligently caused Nayeb’s attack through purported negligent supervision,

management, and/or retention of Nayeb. See Loquasto Petition, at pp. 22-25, and Branch

Petition, at pp. 6-9.

                                  PROCEDURAL HISTORY

        6.      Plaintiffs originally made their claims in two separate lawsuits filed in Dallas

County District Court—(1) Charlotte Loquasto, et al. v. Fluor Corporation, Inc., et al.

(“Loquasto”) and (2) Marvin T. Branch v. Fluor Corporation, Inc., et al. (“Branch”). Fluor

timely removed both the Loquasto and Branch cases under cause numbers 3:19-cv-01455-B and

3:19-cv-01624-B, respectively. See Doc. 1 (Notices of Removal). This Court subsequently




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consolidated those matters into cause number 3:19-cv-01455-B. See Doc. 10 (Order re Fluor’s

Unopposed Motion to Consolidate).

        7.      Fluor answered both the Loquasto and Branch suits before removing each case to

this Court. See Doc. 1 (Notices of Removal, Ex. C (State Court File), Fluor’s Answers 4). In its

state court answers, Fluor invoked all rights, privileges, and protections provided under Chapter

33 of the Texas Civil Practice and Remedies Code, including comparative negligence, and the

right to apportion responsibility to timely designated responsible third parties. See Fluor’s

Answers, at ¶ 8.

        8.      Under Texas Civil Practice and Remedies Code § 33.004(j), Fluor’s Answers also

collectively designate unidentified co-conspirators to Nayeb as responsible “John Does.” See id.

at ¶¶ 23-43, supra. Because each Fluor entity made those pleadings in its respective original or

amended answers before removing, Fluor is entitled to move this Court for leave to designate the

John Does as responsible third parties. See Tex. Civ. Prac. & Rem. Code § 33.004(j).

        9.      This Motion is otherwise timely because a defendant may move for leave to

designate responsible third parties sixty or more days from the date of trial. See id. Presently,

there is no trial date for this case.

                                ARGUMENT AND AUTHORITIES

I.      RESPONSIBLE THIRD PARTY DESIGNATION STANDARDS.

        Chapter 33 of the Texas Civil Practice and Remedies Code applies to all torts governed

under Texas law, whether the underlying case is pending in state or federal court. See Tex. Civ.

Prac. & Rem. Code § 33.002, and In re Enron Corp. Sec., Derivative & ERISA Litig., 623 F.


4
 Fluor intends for “Fluor’s Answers” to encompass—(1) Fluor Government Group International,
Inc.’s Amended Answer (Loquasto), (2) Fluor Corporation, Inc., Fluor Enterprises, Inc., and
Fluor Intercontinental, Inc.’s Original Answer (Loquasto), and (3) Fluor’s collective Original
Answer (Branch).


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Supp. 2d 798, 832 (S.D. Tex. 2009) (“Chapter 33 applies to any tort cause of action governed by

Texas law.”) (citing Gregory L. Lensing, Proportionate Responsibility and Contribution Before

and After the Tort Reform of 2003, 35 Tex. Tech. L. Rev. 1125, 1129 (2004), which in turn cites

III Scott A. Sherman, Texas Tort Reform: The Legislative History, at II-121 (1995)).

       Responsible third party practice is one of several rights, protections, and immunities that

Chapter 33 provides to litigants in tort actions under Texas law. See Tex. Civ. Prac. & Rem.

Code §§ 33.011(6), 33.004. Subject to certain limited restrictions, a defendant may designate any

third party as a “responsible third party,” thereby allowing the trier of fact to apportion

responsibility to that third party, without formal joinder to the litigation. See Tex. Civ. Prac. &

Rem. Code § 33.011(6).

       At one time, Texas law required defendants to establish that a proposed responsible third

party is subject to liability under the plaintiff’s claims. See Tex. Civ. Prac. & Rem. Code

§ 33.011(6)(A)(iii) (Vernon 1997). That is no longer true. In 2003, the Texas Legislature

amended § 33.011(6) to remove any reference to “liab[ility],” in favor of defining a responsible

third party as “any person who is alleged to have caused or contributed to causing in any way the

harm for which recovery is sought.” See Tex. Civ. Prac. & Rem. Code § 33.011(6) (Vernon

Supp. 2004) (emphasis added).

       Under a plain reading of the current version of § 33.011(6), a potential responsible third

party need not be subject to civil liability in order for a defendant to designate him or her as a

responsible third party. See Lensing, supra at 1184. Thus, the extant version of Chapter 33

authorizes defendants to designate responsible third parties who may have a valid defense to

liability, or may even be immune from liability. See id.




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        In 2009, the Texas Supreme Court removed any lingering doubt by expressly confirming

that fact in Galbraith Eng’g Consultants, Inc. v. Pochucha, 290 S.W.3d 863, 868 (Tex. 2009).

The Court clarified that Chapter 33 no longer conflates responsible third party status with

liability to the plaintiff or claimant. Id. Rather, as established above, a defendant may designate a

responsible third party that “caused or contributed to causing in any way the harm for which

recovery is sought,” even if the third party possesses a valid defense, or is immune from suit—

        Although the scheme initially equated responsibility with liability to the plaintiff
        or claimant, this is no longer the case. Thus, a defendant may designate a
        responsible third party even though that party possesses a defense to liability, or
        cannot be formally joined as a defendant, or both. Chapter 33 then is apparently
        unconcerned with the substantive defenses of responsible third parties[.]

        ...

        “The thrust of the 2003 statute is that the jury should allocate responsibility
        among all persons who are responsible for the claimant’s injury, regardless of
        whether they are subject to the court’s jurisdiction or whether there is some other
        impediment to the imposition of liability on them, such as statutory immunity.”

Id. at 868-69, and n.6 (quoting 19 William V. Dorsaneo III, Texas Litig. Guide § 291.03[2][b][i]

at 291-24.1 (2009)); cf. Am. K-9 Detection Servs., LLC v. Freeman, 556 S.W.3d 246, 258-595

(Tex. 2018), cert. denied 139 S. Ct. 1344 (2019); Tex. Civ. Prac. & Rem. Code § 33.011(6).

        Consequently, the fact that the Military could raise immunity or another valid defense to

substantive liability in the case sub judice does not preclude Fluor from designating the Military

as a responsible third party under § 33.004(a). Galbraith Eng’g, 290 S.W.3d at 868-69, and n.6;

see also Tex. Civ. Prac. & Rem. Code § 33.011(6) (Vernon Supp. 2004). Chapter 33 is




5
  “The trial court granted AMK9’s motion to designate the Department and the Army as
responsible third parties, thereby requiring ‘[t]he trier of fact . . . [to] determine [their]
percentage of responsibility . . . for . . . causing or contributing to cause’ Freeman’s injury. Thus,
as one court has observed, the political question doctrine ‘looms large.’” (quoting Tex. Civ. Prac.
& Rem. Code § 33.003(a), and Lane v. Halliburton, 529 F.3d 548, 561 (5th Cir. 2008)).


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unconcerned with the Military’s substantive defenses or immunities. Galbraith Eng’g, 290

S.W.3d at 868-69, and n.6.

        Like a plaintiff’s petition or complaint, Fluor’s responsible third party pleading is subject

to the “fair notice” pleading standard. In re CVR Energy, Inc., 500 S.W.3d 67, 80 (Tex. App.—

Houston [1st Dist.] 2016, orig. proceeding) (citing In re Greyhound Lines, Inc., No. 05-13-

01646-CV, 2014 WL 1022329, at *2 (Tex. App.—Dallas Feb. 21, 2014, orig. proceeding)). That

fair notice pleading standard applies to both designation of known parties under § 33.004(a), and

designation of unknown criminal actors under § 33.004(j) 6. No presentation of evidence is

necessary for designation in either context. CVR, 500 S.W.3d at 80; Tex. Civ. Prac. & Rem.

Code § 33.004(j).

        The pleading requirements to satisfy fair notice “are not stringent.” Greyhound Lines,

2014 WL 1022329, at *2. “The test of fair notice is whether an opposing attorney of reasonable

competence, with the pleadings before him, can determine the nature of the controversy and the

testimony that would probably be relevant.” Coffey v. Johnson, 142 S.W.3d 414, 418 (Tex.

App.—Eastland 2004, no pet.) (citing City of Houston v. Howard, 786 S.W.2d 391, 393 (Tex.

App.—Houston [14th Dist.] 1990, writ denied)); see also Low v. Henry, 221 S.W.3d 609, 612

(Tex. 2007), and In re Manon, No. 04-18-00311-CV, 2018 WL 2943562, at *3 (Tex. App.—San

Antonio June 13, 2018, orig. proceeding). Fluor’s Motion and pleadings meet that standard. See

§§ II-III, infra, and Fluor’s Answers, at ¶¶ 9-16, 23-43.




6
  “[T]he court shall grant a motion for leave to designate the unknown person as a responsible
third party if . . . the allegation satisfies the pleading requirements of the Texas Rules of Civil
Procedure.”


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II.    THE MILITARY IS PROPERLY DESIGNATED AS A RESPONSIBLE
       THIRD PARTY.

       Fluor moves for leave to designate the United States Military as a responsible third party.

The Military’s negligent acts and omissions proximately caused Nayeb’s suicide bombing and

Plaintiffs’ alleged damages in several ways—

       •       The Military negligently sponsored and approved Nayeb for vocational
               training and LOGCAP work at BAF.

       •       The Military negligently failed to detect and report Nayeb’s re-
               radicalization.

       •       The Military negligently failed to prevent Nayeb from smuggling
               explosive material into BAF.

       •       The Military negligently directed that Nayeb would not receive security
               supervision or escort in his work area at BAF.

       •       The Military negligently trained and certified security escorts that were
               responsible for Nayeb on the morning of the attack.

       •       The Military negligently failed to restrict Nayeb’s access to materials that
               he purportedly utilized to create his suicide vest.

       On these facts, the Military is a “person who is alleged to have [negligently] caused or

contributed to causing in any way the harm for which recovery of damages is sought.” See Tex.

Civ. Prac. & Rem. Code § 33.011(6). Fluor’s pleadings are also sufficient to provide fair notice

of the basis for this designation. Coffey, 142 S.W.3d at 418; pp. 8-18, infra.

       The Military Negligently Sponsored and Approved Nayeb for Vocational
       Training and LOGCAP Work.

       The Military negligently sponsored, screened, and approved Nayeb for vocational

training and LOGCAP work at BAF, despite having actual knowledge of Nayeb’s past Taliban

membership. See App’x at 167 (Ex. 6 (Letter from Commander, TF Red Bulls, to Parwan

ROK)); see also Fluor’s Answers, at ¶¶ 9-16, supra.




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        Ostensibly based on its belief that “[l]ong-term success in COIN 7 depend[ed] on the

[Afghan] people taking charge of their own affairs” through a functioning, autonomous Afghan

economy, the Military required Fluor to utilize Afghan nationals “to the maximum extent

possible.” App’x at 79 (Ex. 4 (PWS), at § 1.07(b)); see also App’x at 185 (Ex. 7 (Army Field

Manual 3-24 (Counterinsurgency)), at § 1-4), and App’x at 455-56 (Ex. 8 (Memo re: Afghan

First)). Fluor did not have discretion on that issue; failing to utilize LNs in sufficient numbers for

LOGCAP work would have endangered Fluor’s LOGCAP contract.

        In 2011, the Military had actual and exclusive knowledge of intelligence confirming that

Nayeb was a former member of the Taliban. See App’x at 167 (Ex. 6 (Letter from Commander,

TF Red Bulls, to Parwan ROK)). Then-existing policy dictated that Nayeb’s Taliban membership

should have immediately disqualified him from training or base access. Nevertheless, under the

Military’s larger “Afghan First” COIN strategy8, the Military’s “Task Force Red Bulls” (“TF

Red Bulls”) chose to (1) exempt Nayeb from disqualification, and (2) sponsor Nayeb for

admittance to the Provincial Reconstruction Team Parwan (ROK)’s Vocational Training Center

at BAF (“Parwan ROK” or “Parwan”). See App’x at 167 (Ex. 6 (Letter from Commander, TF

Red Bulls, to Parwan ROK)).

        Consistent with Afghan First, TF Red Bulls represented that providing this alleged

“former” Taliban insurgent access to BAF and vocational training would equip him “with the

skills necessary to obtain honest employment and allow him to reject the insurgency’s promise of

money.” Id.




7
 “COIN” is an acronym for counterinsurgency.
8
  See App’x at 455-56 (Ex. 8 (Memo re: Afghan First)). The Military enacted Afghan First as a
counterinsurgency measure in Afghanistan based on its belief that job creation and economic
incentive could overcome the Afghan insurgency.


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       Upon completion of that training, Military directives ensured that Nayeb entered a pool

of Military-approved LNs for LOGCAP work under Afghan First. Because the Military expected

LOGCAP contractors to utilize LNs trained via Parwan ROK, TF Red Bulls’ sponsorship of

Nayeb for vocational training at Parwan directly resulted in Nayeb’s presence at BAF as an

Afghan subcontractor.

       Thus, the Military unilaterally chose to give an Afghan national with known Taliban

ties—(1) access to a United States Military base in Afghanistan, (2) vocational training for

LOGCAP work at BAF, and (3) upon completion of that vocational training, approval for

entrance into the pool of Military-approved LNs to support LOGCAP work under Afghan First.

At no time during any of these events did the Military inform Fluor of Nayeb’s Taliban ties, or

share any intelligence indicating the existence of those ties.

       No reasonable person under the same or similar circumstances would sponsor and

approve a known Taliban insurgent for access to a United States Military base in Afghanistan,

much less fail to inform anyone of that person’s extremist ties before unleashing him on

unsuspecting Military and civilian personnel living or working on the base.

       The Military negligently provided Nayeb with access to BAF and negligently failed to

inform Fluor of Nayeb’s Taliban ties. These acts of negligence proximately caused Nayeb’s

attack. Nayeb would have had no opportunity to act in any capacity in connection with the

LOGCAP contract, but for the Military’s clearance permitting him to do so.

       The Military Negligently Failed to Detect and Report Nayeb’s Re-
       Radicalization.

       TF Red Bulls recognized that “admitting a former insurgent” to Parwan ROK posed

security risks to personnel at BAF. Seemingly undeterred, the Commander advised that TF Red




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Bulls would “respond to any security concerns [with regard to Nayeb] promptly and fully.” See

App’x at 167 (Ex. 6 (Letter from Commander, TF Red Bulls, to Parwan ROK)).

       That promise aligned with the Military’s exclusive screening and security responsibility.

Under the Military’s Access Policy, the Force Protection Screening Cell (“FPSC”) was solely

responsible for performing security screenings on prospective LNs seeking to access BAF, both

initially and on a continuing basis. See App’x at 1 (Ex. 1 (BAF Access Policy), at §§ 9-11,

supra). If FPSC cleared an LN for access, then “[t]he BSG Commander via [FPSC]”—not

Fluor—would issue the LN a security badge that furnished base access privileges. Id. at § 4.b(1).

FPSC and the BSG Commander were alone responsible for verifying and ensuring each LN’s

continued fitness to possess a security badge and access BAF. Id. at §§ 9-11.

       FPSC is a Military operation in which Fluor has no control. The means, methods, and

manner in which FPSC screens LNs, and the processes and criteria for analyzing and making

decisions based on information obtained through FPSC screenings, are strictly Military matters.

As such, the Military carefully controlled and directed each aspect of FPSC operation under the

Access Policy [App’x 1 (Ex. 1 (BAF Access Policy), supra], and likely other means to which

Fluor was not privy.

       Exercising that exclusive control, the Military screened, interviewed, and approved

Nayeb for his LOGCAP job on December 11, 2011. The BSG Commander, via FPSC, issued

Nayeb a red access badge that allowed Nayeb to enter and work on BAF premises. App’x at 1

(Ex. 1 (BAF Access Policy), at §§ 4, 9-11)). Fluor played no role in these—or any related—

actions that the Military took to ensure that Nayeb gained access to BAF.

       Subsequently, the Military screened, interviewed, and continued to approve Nayeb for

employment and base access on six occasions during his work on the LOGCAP project.




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Measures that FPSC and Military counterintelligence personnel employed to screen Nayeb

included inter alia a field expedient lie detector and counterintelligence interviews to which

Fluor was not privy. The Military also provided the “Biometric Automated Toolset (BAT)

dossier,” which was a “list of questions to be included in all [FPSC] screenings.” See App’x at

100 (Ex. 4 (PWS), at § 05.22.03(d)). Fluor had no authority to approve an LN for a security

badge, and had no discretion in or control over any aspect of the LN screening process. See

App’x at 1 (Ex. 1 (BAF Access Policy), at §§ 4. 9-11).

        The Military therefore controlled and directed not just policymaking that required Fluor

to utilize LNs generally, but also the decision-making and security screening that facilitated

Nayeb’s continued employment on the LOGCAP project at BAF. See id. Nayeb would have

never had access to BAF on the day in question—or at any other time—but for the Military’s

clearance permitting it.

       Unfortunately, the Military failed to detect and report Nayeb’s apparent re-radicalization,

even when Nayeb’s answers during FPSC follow-up screenings and counterintelligence

interviews appeared “trained and coached.” See App’x at 457 (Ex. 9 (Army Regulation 15-6

Investigation Report (“AR 15-6 Report” or “15-6 Report”), at 33 (para. 15.b(2))).

       Because of the intensely sensitive nature of both the FPSC’s mission and the details and

inner-workings of counterintelligence operations, Fluor will likely never know the precise

reason(s) why the Military failed to detect and report Nayeb’s re-radicalization. One un-redacted

15-6 interviewee statement suggested that complacency “c[oming] from the top-down”

diminished the LN security mission’s focus “to the point where the Task Force leadership did not

feel that [its] primary role was base security/force protection.” See id. at 472 (Ex. 9 (15-6 Report)




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Exhibit 2H). There are almost certainly other reasons, explanations, or salient factors that the

Military chose to redact under state secrets privilege.

       Whatever the reason(s), the evidence is clear—the Military did not just allow Nayeb to

access BAF, it wholly failed to detect and report Nayeb’s apparent re-radicalization before the

attack. That failure constituted negligence, which proximately caused Nayeb’s attack and

Plaintiffs’ alleged injuries and damages. See Fluor’s Answers, at ¶¶ 9-16, supra.

       The Military Failed to Prevent Nayeb from Smuggling Explosives into BAF.

       The Military was exclusively responsible for perimeter security at BAF, and it

negligently failed to prevent Nayeb from smuggling explosive material into BAF. See id. at ¶ 6.

       As noted, perimeter security at a United States Military base is constitutionally

committed to the political branches of the Government. See, e.g., McElroy, 367 U.S. at 890.

Under the Access Policy, “Coalition Security Task Forces in charge of the BAF Ground Defense

Area (“BAF GDA”) w[ere] responsible for ensuring that all physical security inspections of

personnel and vehicles entering and exiting BAF [were] conducted.” See App’x at 1 (Ex. 1 (BAF

Access Policy), at § 7(d)).

       Once again, Fluor did not have input into the means, methods, or details of the Military’s

physical searches of Nayeb or other LNs entering BAF. Nor did Fluor have any input or control

over the Military’s random searches of LNs after they entered BAF. Like the FPSC and

counterintelligence screenings, perimeter security and physical searches of vehicles or personnel

at BAF are strictly Military operations.

       Measures that the Military purportedly employed to ensure perimeter security included

pat downs, inspections, x-rays, and iris scans to confirm identity and the absence of derogatory

information. See id. at § 7, supra. Military personnel also performed random physical searches of




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LNs and their work areas, to include searches augmented by bomb-sniffing dogs, intermediate

checkpoints, and Military guards at buildings to enforce force protection measures.

        Despite the myriad personnel and materials security measures at its disposal, the Military

negligently failed to prevent Nayeb from bringing explosive materials into BAF. In fact, the

Army’s 15-6 Report confirms that Nayeb repeatedly managed to smuggle homemade explosives

into BAF through one or more Entry Control Points (“ECPs”) over a four-month period

preceding the attack. See App’x at 467 (Ex. 9 (15-6 Report), at 49 (para. 18.b(2))). That timeline

coincides with the Taliban’s public claims that (1) Nayeb was one of its so-called “fighters 9,”

and (2) the Taliban had been planning Nayeb’s attack “for four months” before the incident. See

App’x at 508 (Ex. 10 (Harooni & Shams, Intelligence gaps may have helped Afghan Taliban

breach NATO fortress, Reuters Nov. 23, 2016 10)).

        The Military likewise had access to intelligence regarding potential security threats to

BAF before the attack, yet it failed to take reasonable measures to prevent Nayeb’s bombing.

        The heavily redacted AR 15-6 Report provides some insight as to why and how the

Military’s perimeter security failed. Similar to lapses in screenings discussed supra, one 15-6

interviewee stated under oath that he or she “knew that there was more facilitation going on” at

the time of the incident, to the point where “[redacted per (b)(1)1.4a] the night before said there

was going to be an attack[,] but that it had been called off.” See App’x at 478 (Ex. 9 (15-6

Report), Exhibit 2J, at 3). Others confirmed that the Military knew “[t]here was a threat on the

base” because “there were drugs being smuggled on, alcohol was probably being smuggled on,”



9
  Despite TF Red Bulls’ assurances that—(1) Nayeb had renounced his Taliban membership, and
(2) providing Nayeb vocational training would prompt him to reject the insurgency. See App’x at
167 (Ex. 6 (Letter from Commander, TF Red Bulls, to Parwan ROK)).
10
   https://www.reuters.com/article/us-afghanistan-usa-bomber-insight/intelligence-gaps-may-
have-helped-afghan-taliban-breach-nato-fortress-idUSKBN13I2NN


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and that inevitably “turn[s] into the day I need you to take a knee and look away, [so that] I [can]

bring what I need to bring into the base.” Id. at 493 (Ex. 9 (15-6 Report), Exhibit 3O at 7).

       Ultimately, Fluor cannot explain how Nayeb managed to smuggle homemade explosives

through a quarter-mile long Military checkpoint, and then evade intermediate Military security

measures. The Military’s assertion of state secrets privilege will likely prevent anyone from

determining that issue precisely.

       However, the Military cannot have properly searched, vetted, and cleared Nayeb on a

daily basis at BAF, while allowing him to introduce explosive material into a fortified Military

base located in a war zone. And since Nayeb could not have committed his attack without

explosive material, the Military’s negligent failure to prevent Nayeb from smuggling explosives

into BAF was not just a proximate of the attack, it was the sole proximate cause of the attack.

See Fluor’s Answers, at ¶ 6.

       The Military Negligently Directed LN Security Supervision and Escort.

       Like FPSC screenings and perimeter security, the Military was solely responsible for

dictating where, when, and how Nayeb would receive security escort and supervision at BAF.

See, e.g., App’x at 1 (Ex. 1 (BAF Access Policy), at § 12). Fluor did not have discretion to

provide such supervision or escort where the Military did not direct it.

       Nayeb held a red access badge at the time of the incident. For reasons unknown to Fluor,

the Military directed that red badge holders would receive security escort in all areas except work

facilities. Critically, Plaintiffs aver that the absence of security supervision at Nayeb’s

workstation—per Military directives—allowed Nayeb to construct his explosive device at his

workstation. See Loquasto Petition, at p. 23; Branch Petition, at pp. 7-8. And while Plaintiffs

incorrectly attribute the alleged lack of security supervision at Nayeb’s workstation to Fluor, they




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nevertheless assert that alleged absence of supervision was negligent, and proximately caused the

attack. Id.

          Assuming arguendo that Plaintiffs’ claims are correct and Nayeb constructed his suicide

vest at his workstation, the Military’s failure to direct and provide security supervision and escort

for Nayeb at his workstation constituted negligence that proximately caused Nayeb’s attack.

Nayeb would not have been able to (allegedly) construct his suicide vest at his workstation, but

for the Military’s directives against supervision in work areas. The Military in fact recognized

this by revising its Access Policy to require security supervision for LNs in all areas—including

work areas—after Nayeb’s attack. See App’x at 510-11 (Ex.11 (Badge, Screening and Access

Standard Operating Procedures for BAF), at § 11.a(1)(ii), (iii) (Dec. 2, 2016), and Ex. 12 (Badge,

Screening and Access Standard Operating Procedures for BAF), at § 11.a(1)(ii), (iii) (Dec. 28,

2016)).

          Plaintiffs also claim that Nayeb evaded escort on the morning of the incident. See

Loquasto Petition, at pp. 22-24, and Branch Petition, at pp. 6-8. There is no definitive evidence

to establish what occurred that morning because the Military deems the investigation into the

incident classified.

          However, it is clear that the Military—not Fluor—trained and certified all personnel with

escort privileges. Thus, if any escort on the morning of the incident was ineffective—as Plaintiffs

allege—the Military was responsible for negligently training and providing escorts to perform

their duties on the morning of the incident.

          The Military also allowed LNs to serve as escorts for other LNs—a practice that the 15-6

Report indicated was a security issue. Cf. App’x at 463-65 (Ex. 9 (15-6 Report), Exhibit 2AQ, at




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1). Military-trained LN escorts purportedly signed Nayeb out on the morning of the incident, and

then verified that Nayeb boarded the bus to ECP-1 on the morning of the incident.

         Once again, Fluor does not know whether one or more of the LNs at BAF acted as

Nayeb’s accomplice because the Military considers the investigation into that issue classified.

See id. at 460 (Ex. 9 (15-6 Report), Exhibit 2A, at 1). However, after the incident, the Military

expressly prohibited LNs from serving as security escorts for other LNs. App’x at 510-11 (Ex.

11 (Badge, Screening and Access Standard Operating Procedures for BAF), at §§ 12.f(2),

15.k(2) 11 (Dec. 2, 2016), and Ex. 12 (Badge, Screening and Access Standard Operating

Procedures for BAF), at §§ 12.f(2), and 15.k(2) 12 (Dec. 28, 2016)).

         If Nayeb was able to avoid the LN escorts that were responsible for him on the morning

of the incident 13, or if the Military-trained and certified LN escorts facilitated Nayeb’s actions,

the Military negligently trained, certified, and provided those escorts, and its negligence

proximately caused the incident.

         The Military Negligently Failed to Restrict Nayeb’s Equipment Access.

         Finally, the Military formulated specific policies that governed LN access to equipment

for LOGCAP work, restricting access to certain items that the Military deemed security risks,

while otherwise mandating that Fluor provide unimpeded access to all other equipment required

for Fluor’s PWS work activities.

         Plaintiffs claim that Nayeb utilized a “multimeter,” and other unspecified equipment, to

construct a suicide vest at his workstation. See Loquasto Petition, at p. 23 Branch Petition, at p.

8. Ostensibly, Plaintiffs are parroting assertions in the AR 15-6 report indicating that Nayeb


11
   “Local nationals will not be authorized to escort local nationals.”
12
   “Local nationals will not be authorized to escort local nationals.”
13
   As Plaintiffs expressly allege in their pleadings. See Loquasto Petition, at pp. 3, 22-23, and
Branch Petition, at pp. 2, 7-8.


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accessed a multimeter, “bolts and nuts,” switches, and “smuggled small quantities of homemade

explosives” to construct the device in question. Id.; compare App’x at 459 (Ex. 9 (AR 15-6

Report), at 49 (para. 18.(b)(2))).

          The Military restricted access to items such as cell phones, two-way radios, and weapons,

but did not restrict LN access to any of the items that Plaintiffs and the AR 15-6 Report claim

Nayeb utilized to construct his suicide vest. Quite the contrary—the Military contractually

required Fluor to “ensure sufficient quantities of all materials [were] available to meet ordinary

demands to avoid delays in work execution.” See App’x at 83 (Ex. 4 (PWS), at § 5.00). And

contrary to Plaintiffs’ representations, each of the items identified above was required to meet

Fluor’s ordinary demands under the PWS.

          The Military was exclusively responsible for personnel and materials security, and thus

the Military alone was responsible for ensuring that Nayeb did not have access to materials with

which he could conduct hostile actions against Department of Defense personnel, resources,

facilities, and critical information. This is particularly true because the Military alone had

knowledge that Nayeb was a former member of the Taliban.

          The Military’s failure to restrict Nayeb’s access to materials that he purportedly utilized

to create his suicide vest constituted negligence that—in Plaintiffs’ estimation 14—proximately

caused the attack and Plaintiffs’ alleged damages and injuries. The Military is appropriately

designated as a responsible third party on this basis as well. Tex. Civ. Prac. & Rem. Code

§§ 33.011(6), 33.004(a).




14
     See Loquasto Petition, at p. 23 Branch Petition, at p. 8.


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       The Court Should Grant Leave to Designate the Military as a Responsible
       Third Party.

       The foregoing well-pleaded facts fully support Fluor’s request for leave to designate the

Military as a responsible third party under §§ 33.011(6) and 33.004(a). See also Fluor’s Answers,

at ¶¶ 6, 8-16, supra. The Military is a “person who is alleged to have caused or contributed to

causing in any way the harm for which recovery of damages is sought, whether by negligent act

or omission . . . by other conduct or activity that violates a legal standard, or by any combination

of these.” See Tex. Civ. Prac. & Rem. Code § 33.011(6). That the Military may be immune from

liability or may have a valid defense to liability is not of any import in the present context.

Galbraith Eng’g, 290 S.W.3d at 868 and n.6.

       Accordingly, this Court should grant Fluor’s request for leave to designate the Military as

a responsible third party under Chapter 33 of the Texas Civil Practice and Remedies Code.

III.   AHMED NAYEB AND UNIDENTIFIED “JOHN DOES” ARE PROPERLY
       DESIGNATED AS RESPONSIBLE THIRD PARTIES.

       In addition to the Military, Fluor respectfully asserts that this Court should grant leave to

designate as responsible third parties—(1) Ahmed Nayeb, and (2) unidentified “John Does” that

acted as Nayeb’s accomplices or co-conspirators. See Fluor’s Answers, at ¶¶ 23-43.

       1.      Ahmed Nayeb is Properly Designated as a Responsible Third Party.

       It is undisputed that Ahmed Nayeb committed a suicide bombing at BAF on November

12, 2016. See Loquasto Petition, at pp. 2-5, 22-25; Branch Petition, at pp. 6-7. It is also

undisputed that Nayeb’s suicide bombing proximately caused Plaintiffs’ alleged injuries and

damages. See Loquasto Petition, at p. 24, and Branch Petition, at p. 8. These undisputed facts

merit leave to designate Nayeb as a responsible third party. See id.; see also Tex. Civ. Prac. &

Rem. Code § 33.011(6).




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       To the extent that Plaintiffs may contend otherwise, Chapter 33 of the Texas Civil

Practice and Remedies Code directs the trier of fact to apportion responsibility amongst

negligent and intentional tortfeasors alike, including those who have committed criminal assault.

Arceneaux v. Pinnacle Entm’t, Inc., 523 S.W.3d 746, 748-49 (Tex. App.—Houston [14th Dist.]

2017, no pet.) (citing JCW Elec., Inc. v. Garza, 257 S.W.3d 701, 704 (Tex. 2008), and Isaacs v.

Bishop, 249 S.W.3d 100, 116-17 (Tex. App.—Texarkana 2008, pet. denied)); accord Nuñez v.

City of Corpus Christi, Tex., No. 2:12-CV-00092, 2013 WL 164045, at *1 (S.D. Tex. Jan. 14,

2013) (“the Court rejects Nuñez’s theory that his assault claim is exempted from the

proportionate liability statute.”). Thus, the fact that Nayeb’s suicide attack constituted criminal

conduct on his part does not preclude his designation. Nuñez, 2013 WL 164045, at *1.

       Alternatively, “[n]egligence per se is a common-law doctrine that allows courts to rely on

a penal statute to define a reasonably prudent person’s standard of care.” Reeder v. Daniel, 61

S.W.3d 359, 361-62 (Tex. 2001) (citing Carter v. William Sommerville & Son, Inc., 584 S.W.2d

274, 278 (Tex. 1979)).

       To that end, it is beyond dispute that Nayeb’s attack violated multiple Texas Penal Code

statutes. See Loquasto Petition, at pp. 2-4, 22-24, and Branch Petition, at pp. 1-3, 6-8, supra.

Specifically—Nayeb’s actions constituted murder, criminally negligent homicide, assault,

aggravated assault, and deadly conduct. See Tex. Penal Code §§ 19.02(b) (Murder), 19.04

(Manslaughter), 19.05 (Criminally Negligent Homicide), 22.01(a)(1) (Assault), 22.02(a)(1), (2)

(Aggravated Assault), and 22.05 (Deadly Conduct). None of these facts is in dispute.

       Accordingly, Nayeb’s criminal actions constituted negligence per se, which proximately

caused the harm for which Plaintiffs seek recovery in the case sub judice. Reeder, 61 S.W.3d at

361-62 (citing Carter, 584 S.W.3d at 278). Nayeb is a person that “caused or contributed to




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causing in any way the harm for which recovery is sought,” and thus the Court should grant

Fluor leave to designate Nayeb as a responsible third party under § 33.004(a). Id.; see also Tex.

Civ. Prac. & Rem. Code §§ 33.011(6), and 33.004(a).

       2.      Unidentified “John Does” are Properly Designated as a Responsible
               Third Party.

       For similar reasons, this Court should grant leave to designate unidentified “John Does”

that facilitated or assisted Nayeb in his suicide attack. See Tex. Civ. Prac. & Rem. Code

§ 33.004(j); see also Fluor’s Answers, at ¶¶ 23-43, supra.

       A defendant seeking leave to designate unknown or unidentified criminal actors as

responsible third parties must allege—in an answer filed within sixty days of appearance—that

the “unknown person committed a criminal act that was a cause of the loss or injury that is the

subject of the lawsuit.” See Tex. Civ. Prac. & Rem. Code § 33.004(j). Upon such pleading, the

trial court “shall grant” a motion for leave to designate the unknown person as a responsible third

party if—

       (1)     The court determines that the defendant has pleaded facts sufficient for the
               court to determine that there is a reasonable probability that the act of the
               unknown person was criminal;

       (2)     The defendant has stated in the answer all identifying characteristics of the
               unknown person, known at the time of the answer; and

       (3)     The allegation satisfies the pleading requirements of the Texas Rules of
               Civil Procedure.

See Tex. Civ. Prac. & Rem. Code § 33.004(j)(1)-(3). Fluor’s Answers in both the Loquasto and

Branch matters satisfy each of these requirements.

       First, Fluor pleads sufficient facts for the Court to determine that there is a reasonable

probability that the John Does’ collective acts were criminal in nature.




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         As Fluor pleaded at length in its Answers, the Government released only a heavily

redacted AR 15-6 Report, ostensibly to suit its own interests. See Answers, at ¶¶ 24-26, supra.

But even that redacted version confirms Nayeb did not perpetrate the attack without assistance.

There were unnamed co-conspirators that the Government and/or the Army refused to identify

based on state secrets privilege and/or on grounds that such information was classified 15.

         For example, an Army Criminal Investigation Division (“CID”) officer averred under

oath that he had in his possession “classified exhibits in [his] investigation produced from other

military agencies who identified co-conspirators to the suicide bomber.” See App’x at 460 (Ex. 9

(15-6 Report), Exhibit 2A, at 1). He goes on: “[a]t this time, CID does not plan on listing the co-

conspirators as subjects in the unclassified LER [Law-Enforcement Report] due to the classified

means in which they were identified as subjects/co-conspirators.” Id.

         Other 15-6 interviewees averred under oath that they had knowledge of facilitation that

directly compromised then-existing Military security measures and protocols. Afghan LNs were

smuggling goods to trade for favors like “look[ing] away.” See App’x at 478-80, 493 (Ex. 9 (15-

6 Report), Exhibit 2J, at 3-5; and Exhibit 3O, at 7). And while pertinent details are assuredly

missing due to the Government’s heavy redactions, these sworn statements are imminently

relevant because—by the Army’s own admission—Nayeb somehow managed to smuggle

homemade explosives through Military-controlled and provided ECPs surrounding BAF. See id.

at 458 (Ex. 9 (15-6 Report), at 49 (para. 18.b(2))).

         Moreover, it is important to note that Nayeb was a low-skilled laborer working in a motor

pool. His only formal education or training consisted of training at BAF’s Parwan ROK




15
 The Government’s refusal to identify those co-conspirators means that § 33.004(j) is the only
means by which Fluor can designate such persons as responsible third parties.


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vocational school—per the Military’s directive 16—and Parwan ROK certainly did not teach its

attendees how to construct suicide vests such as that which Nayeb used in his attack.

          Yet somehow, Plaintiffs assert that Nayeb was able to fashion a working suicide vest,

smuggle explosives through Military-controlled and fortified ECPs, and evade Military-trained

and certified escorts on the morning of the incident. See Loquasto Petition, at pp. 2-5, 22-25, and

Branch Petition, at pp. 1-3, 6-8.

          That Nayeb could have been acting alone defies credulity and all available evidence,

from the AR 15-6 Report to the Taliban’s public statements asserting responsibility for the

execution and planning of the attack. See Ex. App’x at 508 (Ex. 10 (Harooni & Shams, supra)).

As noted, the four-month timeline that the Taliban cited in its public statement claiming

responsibility directly coincides with the Army’s finding that Nayeb smuggled explosive

material through Military ECPs starting approximately four months before the attack. See App’x

at 458, 478 (Ex. 9 (AR 15-6 Report), at 49 (para. 18.b(2)); Exhibit 2J, at 3).

          In sum, therefore, Fluor asserts that the John Does facilitated and furthered Nayeb’s

attack by—

          (1)    Constructing Nayeb’s suicide vest or, alternatively, assisting Nayeb in the
                 construction of his vest.

          (2)    Facilitating and furthering Nayeb’s suicide attack by “look[ing] away” and
                 allowing Nayeb to smuggle explosive material through one or more BAF
                 ECPs.

          (3)    Furnishing and/or accepting bribes, kickbacks, or payoffs to ensure that
                 persons responsible for searching Nayeb “look[ed] away” and allowed
                 Nayeb to smuggle explosives into BAF.

          (4)    Facilitating or assisting Nayeb in evading Military-trained escort on the
                 morning of the incident.



16
     See App’x at 167 (Ex. 6 (Letter from Commander, TF Red Bulls, to Parwan ROK)).


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         By facilitating and furthering Nayeb’s criminal conduct, the John Does engaged in

criminal behavior. See Tex. Penal Code § 15.02 (Criminal Conspiracy). To wit—the John Does

(1) agreed with Nayeb and/or one or more other persons that Nayeb would conduct the suicide

attack in question, and (2) performed one or more overt acts to pursue or further their agreement

and Nayeb’s attack. See id. at 15.02 (a)(1), (2).

         The foregoing pleadings—and Fluor’s pleadings in its Answers on file—are sufficient to

allow the Court to determine that there is a reasonable probability that the John Does’ collective

acts were criminal in nature. See Tex. Civil Prac. & Rem. Code § 33.004(j)(1), and Fluor’s

Answers, at ¶¶ 23-43.

         Second, Fluor has provided all known identifying characteristics of the John Does in its

pleadings on file with this Court. See Tex. Civ. Prac. & Rem. Code § 33.004(j)(2); see also

Fluor’s Answers, at ¶ 40.

         The Government’s assertion that the identities of the co-conspirators are classified

severely limits Fluor’s ability to describe such persons to this Court in a pleading. However,

based on the Taliban’s claim of responsibility in conjunction with the attack, Fluor asserts that

the John Does are members of or associated with the Taliban 17. This is the only descriptive

information to which Fluor has access. Id.

         Finally, Fluor’s pleadings provide fair notice of the facts and basis on which Fluor seeks

to designate the John Does. See Tex. Civ. Prac. & Rem. Code § 33.004(j)(3).

         As noted, a designating party’s pleadings comport with fair notice if he or she pleads

facts sufficient to allow an attorney of reasonable competence to “determine the nature of the

controversy and the testimony that would probably be relevant.” Coffey, 142 S.W.3d at 418


17
  Because Taliban members are by no means persons strictly from Afghanistan, and in fact can
be of multiple nationalities, Fluor cannot state that the co-conspirators are Afghan LNs.


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(citing Howard, 786 S.W.2d at 393) (defining fair notice); see also Manon, 2018 WL 2943562,

at *3; Greyhound, 2014 WL 1022329, at *2 (citing Low, 221 S.W.3d at 612). Fluor has fully

described the legal and factual bases on which it seeks to designate John Does. The John Does

facilitated and furthered Nayeb’s suicide attack in each of the nonexclusive ways in which Fluor

enumerated in this Motion and in its Answers. See pp. 19-22; Fluor’s Answers, at ¶¶ 23-43.

       Such overt acts in pursuance of Nayeb’s criminal activity constituted criminal conduct

that caused or contributed to cause Nayeb’s attack and Plaintiffs’ injuries or damages. See Tex.

Penal Code § 15.02, supra. There is no reasonable question regarding the nature of the

controversy or the testimony that would probably be relevant on Fluor’s record pleadings. See

Coffey, 142 S.W.3d at 418 (citing Howard, 786 S.W.2d at 393); see also Manon, 2018 WL

2943562, at *3; Greyhound, 2014 WL 1022329, at *2 (citing Low, 221 S.W.3d at 612).

       Accordingly, Fluor respectfully asserts that, in addition to granting leave to designate the

Military and Nayeb as responsible third parties, the Court should grant leave for Fluor to

collectively name the “John Does” as an unidentified responsible third party under § 33.004(j).

                                 CONCLUSION AND PRAYER

       Fluor’s Motion for Leave to Designate the Military, Nayeb, and the John Does is timely

in all respects under Chapter 33, and Fluor supports this Motion with ample facts to provide

Plaintiffs with fair notice of the claims against each proposed third parties.

       THEREFORE, Fluor Corporation, Inc., Fluor Enterprises, Inc., Fluor Government

Group International, Inc., and Fluor Intercontinental, Inc. respectfully request that the Court

GRANT their Motion for Leave to Designate the Military, Nayeb, and the John Does as

responsible third parties under § 33.004, et seq. Fluor also prays for such other and further relief

to which it may show itself in law or in equity.




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                                             Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

        The undersigned certifies that counsel for Fluor conferred with counsel for Plaintiffs and
counsel for APS concerning the foregoing Motion for Leave to Designate Responsible Third
Parties. Plaintiffs are opposed to Fluor’s Motion; APS is unopposed to Fluor’s Motion.

                                             /s/ Darrell L. Barger
                                             Darrell L. Barger

                                CERTIFICATE OF SERVICE

        The undersigned certifies that on August 19, 2019, Fluor served a true and correct copy
of the foregoing Motion on counsel of record for Plaintiffs and APS via the Northern District’s
CM/ECF filing service.

                                             /s/ Darrell L. Barger
                                             Darrell L. Barger


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